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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

    UNITED STATES OF AMERICA,

             Plaintiff,

    v.                                        Case No. 8:07-cr-237-T-24TBM

    NELSON CASTILLO,

             Defendant.
                                          /


                                                ORDER

             THIS MATTER is before the court upon referral from the District Judge on

    Defendant’s Motion to Determine Mental Competency. (Doc. 38).

             The government has notified the court that it does not oppose the motion and there

    being reasonable grounds to believe the Defendant may presently suffer from a mental disease

    or defect rendering him mentally incompetent to proceed to trial, the Defendant’s Motion to

    Determine Mental Competency (Doc. 38) is GRANTED. The court hereby appoints, Dr.

    Donald Taylor, to conduct an independent psychiatric examination. The court requests Dr.

    Taylor complete the examination and file a report with this court within thirty (45) days of the

    date of this Order.

             Upon completion of the examination, Dr. Taylor is requested to provide to the court

    a report detailing the Defendant's history and present symptoms; a description of psychiatric

    or psychological medical tests employed in the examination; his findings and opinions as to

    whether or not the Defendant is suffering from a mental disease or defect rendering him

    mentally incompetent to proceed, in that he is unable to understand the nature and

    consequences of the proceedings against him or to assist properly in his defense.
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             Upon receipt of the report, the court will conduct a further hearing on the matter.

             The United States Marshal is directed to transport the Defendant to Falkenburg Road

    Jail prior to September 18, 2007, to ensure his availability to Dr. Taylor for his examination.

             Counsel for the Defendant shall collect all available mental health records for this

    Defendant and provide them to Dr. Taylor promptly.

             Done and Ordered in Tampa, Florida this 28th day of August 2007.




    Copies furnished to:
    Honorable Susan C. Bucklew
    Vincent Tortorella, Assistant United States Attorney
    Attorney for Defendant
    Dr. Donald Taylor (via facsimile)




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